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UNITED sTATES DISTRICT COURT

SOLUTIONS, INC.; TRANS UNION

LLC; EQUIFAX, INC.; EQUIFAX

INFORMATION SERVICES, LLC
Defendants

WESTERN'I)ISTRICT o_F NoRTH cARoLINA , DEC 0 / 2015 . l
\_ASHEVILLE DIVIsIoN _ n
' '- C|erk, U.S. Dlst. Court
) W. Dist. of N,C.
TERI LYNN HINKLE )
Plaintin )
,. * ) Civil No= 1=13-Cv-00007-MR-1)LH
vs )
. 1 )
EXPERIAN INFoRMATIoN )
)
)
)
)

NOTICE TO THE COURT OF NON-RECEIPT OF SETTLEMENT PROCEEDS

Plaintiff and the Equifax Defendants agreed to and consummated a settlement of this
matter on November 8, 2018. Defendants, through counsel have stated the settlement proceeds
would be mailed to Plaintiff no later than November 30, 2018. As of this date, December 6,
2018, Plaintiff has not received said proceeds. Given the tortured history of Defendants’ counsel
making certain statements and not following through on them and their failure to flle responses
with the Court on a timely basis, Plaintiff has no confidence she is in fact going to receive the
settlement proceeds any time soon. Plaintiff wishes to inform the Court that she may need to
request the Court’s intervention in enforcing the Settlement Agreement made between the
parties. As a result of this delay Plaintiff Would request that the Court not dismiss this case until
Plaintiff is able to ascertain whether she Will in fact receive the settlement proceeds within the
next 14 days. If and when she does receive the settlement proceeds she will immediately notice

~ the Court of such by filing a Motion to Dismiss with Prejudice. Should Plaintiff not receive the

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settlement proceeds by December 20, 2018 she will notice the Court and seek its intervention to
enforce the Settlement Agreement;

WHEREFORE, Plaintiff respectfully requests this Honorable Court delay any dismissal
of this case so that she may ascertain IF she is in fact going to receive the settlement proceeds as
agreed or whether as outlined above she will be forced to seek the Court’s intervention, or in the
alternative should the Court find it more expedient it could simply move forward and grant

Plaintiff’ s Motion for Default Judgment plus costs.

 

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Murphy, NC 28906
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queensongbird@gmail.com

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CERTIFICATE OF SERVlCE

This is to certify that a true and correct copy of the foregoing document Was sent to the parties
listed below by first class mail USPS.

Counsel for Equifax Information Services LLC
And Equifax, Inc.

Bradley J. Lingo

King & Spalding LLP

100 North Tryon Street, Suite 3900

Charlotte, North Carolina 28202

Dated December 6, 2018

 

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